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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         Case No. 22-cv-21691-BLOOM/Otazo-Reyes

 VICTOR ARIZA,

        Plaintiff,

 v.

 GLOTTMAN ANTEPRIMA, INC.,

       Defendant.
 ________________________________/

                         ORDER OF DISMISSAL WITH PREJUDICE

        THIS CAUSE is before the Court upon the Notice of Voluntary Dismissal with Prejudice,

 ECF No. [8] (“Notice”), filed on June 30, 2022. The Court has carefully reviewed the Notice, the

 record in this case, and is otherwise fully advised. Accordingly, it is ORDERED AND

 ADJUDGED as follows:

            1. The Notice, ECF No. [8] is APPROVED and ADOPTED;

            2. The above-styled case is DISMISSED WITH PREJUDICE;

            3. Each party shall bear its own attorneys’ fees and costs;

            4. To the extent not otherwise disposed of, all pending motions are denied as MOOT

                and all deadlines are TERMINATED;

            5. The Clerk of Court is directed to CLOSE this case.

        DONE AND ORDERED in Chambers at Miami, Florida, on June 30, 2022.




                                                        _________________________________
                                                        BETH BLOOM
                                                        UNITED STATES DISTRICT JUDGE
 cc: Counsel of Record
